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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                     :
                                                       :
                              Plaintiff,               :     NO. 19-CV-5946-RBS
                                                       :
        v.                                             :
                                                       :
COLIN PURRINGTON,                                      :
                                                       :
                              Defendant.               :

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL

        Defendant Colin Purrington submits this memorandum of law in support of his motion to

compel responses to certain interrogatories and document requests from plaintiff AC2T, Inc. d/b/a

Spartan Mosquito (“Spartan”), pursuant to Federal Rules of Civil Procedure 26, 33, 34, and

37(a)(3).

                                PRELIMINARY STATEMENT

        Spartan filed this suit to silence Mr. Purrington, a former college professor and biology

enthusiast, who posts on social media and his own website about insects, mosquito control, and

other topics relating to science and nature. Spartan contends that Mr. Purrington’s conclusions

about the efficacy, marketing materials, and regulatory status of Spartan’s product, the Spartan

Mosquito Eradicator, are false and therefore defamatory of Spartan. Now that the time has come

for Spartan to produce documents and information to substantiate its claims, however, Spartan’s

enthusiasm for litigation has apparently cooled. Tellingly, Spartan failed timely to respond to

discovery requests, failed to produce documents and information to which it asserted no objections,

and repeatedly objected – without any apparent factual basis – that discovery about matters

specifically referenced in Spartan’s complaint is overburdensome and too expensive. This conduct

provides further evidence that Spartan is using the litigation process for intimidation, rather than




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to achieve redress for legitimate grievances. For these reasons, Mr. Purrington respectfully

requests that this Court grant his motion to compel and order Spartan to comply with its discovery

obligations under the Federal Rules of Civil Procedure.

                                   STATEMENT OF FACTS

        Spartan initiated the discovery process in this litigation by serving document requests and

interrogatories on Mr. Purrington on April 30, 2020. Mr. Purrington responded to those discovery

requests on June 5, 2020, after securing an agreement for a short extension of time to respond. On

June 5, 2020, Mr. Purrington also served Spartan with Defendant’s First Set of Interrogatories (the

“Interrogatories”) and Defendant’s First Set of Document Requests (the “Document Requests”).

True and correct copies of the Interrogatories and the Document Requests are attached as Exhibits

1 and 2. After the expiration of several agreed-upon extensions and numerous follow-up requests,

Spartan belatedly served written responses and objections to the Document Requests on August

12, 2020 (the “Spartan Objections”), but produced no responsive documents and did not respond

to the Interrogatories. A true and correct copy of the Spartan Objections is attached hereto as

Exhibit 3.

        On August 26, 2020, counsel for Mr. Purrington wrote to follow up on the Spartan

Objections. A true and correct copy of that letter is attached hereto as Exhibit 4. The letter

requested that Spartan provide the documents that it promised to produce in the Spartan Objections

and that Spartan respond to the Interrogatories. In addition, the letter detailed why the Spartan

Objections do not articulate a valid legal basis to support Spartan’s refusal to produce certain

categories of documents. Spartan did not respond to the August 26 letter.

        On September 23, 2020, after additional follow-up requests, Spartan finally served

incomplete responses and objections to the Interrogatories (the “Spartan Interrogatory

Responses”). A true and correct copy of the Spartan Interrogatory Responses is attached hereto as


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Exhibit 5.     The Spartan Interrogatory Responses omitted any responses or objections to

Interrogatories Nos. 5 and 10. Ex. 5 at 2, 4. Interrogatory No. 5 requests the following

information: “[d]escribe any damages Spartan Mosquito is seeking in this Litigation by listing the

category of damages, the amount, and the basis for seeking those damages.” Ex. 1 at 5.

Interrogatory No. 10 seeks information concerning the regulatory status of Spartan’s product:

“[l]ist all states that have refused to permit the sale of the Product and list each state’s given

reason(s) for refusing to permit the sale of the Product.” Ex. 1 at 6.

        After additional follow up emails, counsel for both parties met and conferred telephonically

for over an hour concerning the Spartan Objections and the Spartan Interrogatory Responses on

September 30, 2020. Among other things, counsel for Spartan agreed that Mr. Purrington is

entitled to responses to Interrogatories Nos. 5 and 10 and promised to provide those responses.

With respect to Spartan’s various objections to the Document Requests, counsel for Mr. Purrington

suggested that Spartan provide the documents that it agreed to produce in August and attempted

to come to an agreement to resolve Spartan’s objections. Counsel for Mr. Purrington sent a follow

up email on October 1, 2020 setting forth the matters that the parties discussed and requested that

Spartan produce the responses to Interrogatories Nos. 5 and 10 as well as the documents that

Spartan had already agreed to produce. Counsel for Spartan did not respond. Counsel for

Mr. Purrington sent a second follow up email on October 8, 2020. Again, counsel for Spartan did

not respond. True and correct copies of these emails are attached as Exhibit 6.

        On October 14, 2020, Spartan produced its first set of documents responsive to the

Document Requests. The production included no documents responsive to Request Nos. 2, 3, 6,

9, 13, 14, 16, 22, 23, 26, 31, or 32, although Spartan raised no objections to those requests. In

addition, the production included no documents responsive to Request Nos. 4, 5, 7, 8, 11, 12, 15,




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20, 21, and 25 and contained only partial responses to Request Nos. 1, 29, and 30. In particular,

in response to Request No. 30, which seeks “[a]ll photographs and videos of mosquitos entering

the holes in the Product, including all unedited versions of such photographs and videos,” Spartan

produced only a ten-minute excerpt of one video, although the video itself demonstrates that

Spartan has at least eleven hours of relevant footage in its possession. A screenshot of this video,

demonstrating that only a portion was produced, is attached hereto as Exhibit 7.

        Now, nearly six months after he initially served the Document Requests and

Interrogatories, Mr. Purrington respectfully seeks an order compelling Spartan to comply with its

discovery obligations and produce documents and information responsive to the Document

Requests and Interrogatories.

                                           ARGUMENT

        Mr. Purrington served reasonably tailored requests seeking discoverable materials crucial

to his ability to defend against Spartan’s accusations, patiently waited for responses, and attempted

to resolve this discovery dispute without the aid of the Court. Because those efforts were

unavailing, he is entitled to an order compelling Spartan to respond. “Parties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional

to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Where a party fails to respond to interrogatories

or document requests, or provides incomplete or evasive answers, the requesting party may move

for an order compelling the requested discovery. Fed. R. Civ. P. 37(a)(3); see also Creely v.

Genesis Health Ventures, Inc., No. 04-CV-0679, 2005 WL 44526, at *1 (E.D. Pa. Jan. 10, 2005)

(Surrick, J.).     If the responding party objected to the request, the propounding party must

demonstrate that the information is discoverable and the burden then shifts to the responding party

to show why the discovery should not be permitted. Creely, 2005 WL 44526, at *1. As described

below, each of the discovery requests to which Mr. Purrington seeks responses calls for


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discoverable information, and none of Spartan’s objections shows that Mr. Purrington’s requests

should not be permitted.

        I.         The Court Should Order Spartan To Respond To Interrogatories Nos. 5 and 10

        Spartan articulated no grounds for its failure to respond to Interrogatories Nos. 5 and 10,

which seek discoverable information, and the Court should require Spartan to provide full and

complete responses. Pursuant to Rule 33, a party must respond or object “within 30 days after

being served with the interrogatories.” Fed. R. Civ. P. 33(b)(2). Interrogatories Nos. 5 and 10

request discoverable information concerning Spartan’s damages and the regulatory status of

Spartan’s product. See Fed. R. Civ. P. 26(a)(1)(A)(iii), 26(b); Amended Complaint (“Amend.

Compl.”) ¶¶ 29, 33 (claiming that Spartan has suffered damages by reason of Mr. Purrington’s

statements and that Mr. Purrington has falsely accused Spartan of misleading state agencies).

Spartan articulated no objection to these interrogatories, which were served over 150 days ago,

and conceded during the parties’ meet and confer that Mr. Purrington is entitled to this information.

Accordingly, the Court should issue an order directing Spartan to answer Interrogatories Nos. 5

and 10. Fed. R. Civ. P. 33(b)(2); Local Rules of Civil Procedure, E.D. Pa. 26.1(g).

        II.        The Court Should Order Spartan To Produce Documents Responsive to Requests
                   Nos. 2, 3, 6, 9, 13, 14, 16, 21, 22, 23, 26, 31, and 32

        The documents sought in Requests Nos. 2, 3, 6, 9, 13, 14, 16, 21, 22, 23, 26, 31, and 32 are

discoverable, Spartan’s time for responses has long passed, no objection has been raised to these

requests, and Spartan has produced no responsive documents. See Fed. R. Civ. P. 34(b) (requiring

responses and objections to document requests to be served within thirty days); Exs. 2 & 3.

Accordingly, the Court should order Spartan to produce documents responsive to these requests.

Fed. R. Civ. P. 34(b); Local Rules of Civil Procedure, E.D. Pa. 26.1(g).




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        Although each of these requests for production seeks slightly different material, Requests

Nos. 2, 3, 6, 9, 13, 14, 16, 21, 22, 23, and 26 all call for discoverable information that pertains to

whether the allegedly defamatory statements made by Mr. Purrington are, in fact, accurate. Truth

is a defense to a defamation claim. Alston v. Nat’l Conference of Bar Examiners, 314 F. Supp. 3d

620, 626 (E.D. Pa. 2018); see also Ames v. Am. Radio Relay League, Inc., 716 Fed. App’x 115,

118 (3d Cir. 2017). Here, among other things, Spartan contends that Mr. Purrington made

allegedly false statements “concerning the performance of the Spartan Mosquito Eradicator, the

science behind the product, the health consequences of its use, and the Plaintiff’s marketing.”

Amend. Compl. ¶ 8. Spartan also contends that Mr. Purrington made false statements concerning

the regulatory status of the product. Amend. Compl. ¶¶ 20, 24. The document requests at issue

here seek information that would tend to prove the veracity of the allegedly defamatory statements.

Requests Nos. 2, 3, 14, 16, 21, and 22 each call for documents related to the performance of

Spartan’s product and the science behind the product, including experimental data, case studies,

and correspondence concerning the operation of the product. Ex. 2 at 5-7. Requests Nos. 6, 13,

23, and 26 require the production of marketing materials for the product and related documents.

Ex. 2 at 6-7. Request No. 9 seeks documents concerning the regulatory compliance of the product.

Ex. 2 at 6. Accordingly, these materials are discoverable, Spartan’s responses are overdue, and

the Court should issue an order directing Spartan to produce documents responsive to these

requests. Fed. R. Civ. P. 34(b); Local Rules of Civil Procedure, E.D. Pa. 26.1(g).

        Requests Nos. 31 and 32 similarly seek discoverable information concerning Spartan’s

alleged damages, which must be produced. Information concerning a plaintiff’s damages falls

squarely within the scope of discovery under Rule 26. See Fed. R. Civ. P. 26(a)(1)(A)(iii)

(requiring the production of documents concerning damages as part of mandatory initial




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disclosures). Request 31 calls for the production of documents concerning any lost sales that

Spartan contends are related to Mr. Purrington’s statements. Ex. 2 at 8. Request 32 generally

seeks information concerning Spartan’s damages. Id. Therefore, the Court should also order

Spartan to produce documents responsive to Requests Nos. 31 and 32. Fed. R. Civ. P. 34(b); Local

Rules of Civil Procedure, E.D. Pa. 26.1(g).

        III.       The Court Should Order Spartan To Produce The Full Video Of Spartan’s Product
                   and Other Documents Responsive To Request No. 30

        As with other requests, Spartan did not articulate an objection to Request No. 30, but has

refused to produce a complete response. Request 30 seeks “[a]ll photographs and videos of

mosquitos entering the holes in the Product, including all unedited versions of such photographs

and videos.” Ex. 2 at 8. Those materials are discoverable, because Spartan claims that it has video

footage demonstrating how its product operates, a key issue in this case. See Amend. Compl. ¶ 5.

Spartan made no objection to this request and stated that it is producing responsive documents.

Ex. 3 at 9. In Spartan’s document production, however, it produced only a fragment of one video

that appears to show mosquitos in a lab with an unidentifiable Spartan product, the full version of

which appears to contain approximately eleven hours of footage. See Ex. 7. The fragment of the

video that Spartan produced, however, does not include sufficient footage to demonstrate:

(1) which product appears in the video; (2) how the experiment depicted in the video was set up;

and (3) how mosquitos interacted with the product during the remaining hours of footage not

produced. During the parties’ meet and confer, Spartan articulated that producing the entire video

would be too expensive and too burdensome. As described more fully below, however, a naked

assertion of burden or expense does not justify withholding discoverable information. See infra,

§ IV.B. Accordingly, the Court should order Spartan to produce the full video responsive to




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Request No. 30, along with any other photographs or videos in Spartan’s possession responsive to

this request. Fed. R. Civ. P. 34(b); Local Rules of Civil Procedure, E.D. Pa. 26.1(g).

        IV.        The Court Should Strike Spartan’s Unsupported Objections To Request Nos. 4, 5,
                   7, 8, 11, 12, 15, 20, and 25 and Order Spartan To Produce Responsive Documents

        Spartan’s objections to Request Nos. 4, 5, 7, 8, 11, 12, 15, 20, 21, and 25 do not establish

legally sufficient grounds to resist discovery. Because Spartan has not stated valid objections and

each of those requests seeks discoverable information, the Court should strike the objections and

enter an order compelling production of the requested materials.

                   A.     Spartan’s Objection to Request No. 4 Does Not Justify Its Failure To
                          Produce Responsive Documents

        Spartan improperly refused to produce documents responsive to Request No. 4, which

seeks discoverable information; Spartan’s objection should be stricken and Spartan should be

ordered to produce documents responsive to this request. Request No. 4 seeks “[a] copy of all

non-disclosure or confidentiality agreements entered into between Spartan Mosquito and any

person conducting experiments on the Product.” Ex. 2 at 5. Spartan objected to this request on

two apparent grounds: confidentiality and relevance. See Ex. 3 at 2. Contrary to Spartan’s

objections, the information sought in Request No. 4 is discoverable and its objections do not

provide a valid basis to withhold the requested documents.

        The information sought in Request No. 4 is both discoverable and relevant because it

relates to persons who have knowledge of the operation of Spartan’s product through

experimentation. The identity of individuals who might have discoverable information is a core

area of discovery under the Federal Rules. See Fed. R. Civ. P. 26(a)(1)(A)(i) (requiring parties to

identify individuals who potentially have discoverable information as part of mandatory initial

disclosures). Copies of non-disclosure or confidentiality agreements would show the identity of

individuals who conducted experiments on Spartan’s products, as well as whether Spartan made


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an effort to suppress information concerning unsuccessful experiments on its products. As noted

above, Spartan explicitly accuses Mr. Purrington of making allegedly defamatory statements

concerning the performance of its product and concerning whether Spartan intentionally misled

consumers concerning that performance. See Amend. Compl. ¶ 8. Mr. Purrington believes that

experimentation conducted by Spartan itself will demonstrate the truth of his statements,

particularly that the product does not operate as claimed in Spartan’s marketing materials.

Accordingly, the identity of individuals who have conducted experiments on the product and were

required to maintain the confidentiality of information concerning those experiments is relevant

and discoverable.

        Spartan’s confidentiality objection to Request No. 4 is unavailing and should be stricken.

First, Spartan inaccurately contends that Mr. Purrington is specifically seeking confidential

information. To the contrary, the existence and substance of a confidentiality agreement is not

necessarily itself confidential nor likely to contain confidential information about the operation of

Spartan’s product. Second, “[i]t is well settled that there is no absolute privilege for trade secrets

and similar confidential information; the protection afforded is that if the information sought is

shown to be relevant and necessary, proper safeguards will attend disclosure.” Wright & Miller,

8A Fed. Prac. & Proc. Civ. § 2043 (3d ed. 2020). Spartan’s objection identifies no confidential

information contained in the confidentiality agreements sought that would merit protection under

the Federal Rules and has not articulated any safeguards that it contends are necessary to protect

any such purportedly confidential information. Accordingly, the Court should strike Spartan’s

objections and order it to produce documents responsive to Request No. 4.




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                   B.   The Court Should Strike Spartan’s Objections and Order Spartan to
                        Produce Documents Responsive to Requests Nos. 5, 7, 8, 12, and 15

        Requests Nos. 5, 7, 8, 12, and 15 seek discoverable information to which Mr. Purrington

is entitled under the Federal Rules of Civil Procedure. Spartan’s burden objections to those

requests are without a basis in law or fact, and the Court should strike those objections and compel

Spartan to produce documents responsive to these requests.

        Each of these requests targets discoverable information because the materials sought relate

to whether the statements Mr. Purrington made are false. As previously noted, truth is a defense

to a defamation claim. Alston, 314 F. Supp. 3d at 626. Here, Spartan alleges that Mr. Purrington’s

statements concerning the operation of its product, the regulatory compliance of its product, and

its marketing materials are false and defamatory. See Amend. Compl. ¶¶ 8, 20, 24. Request Nos.

5, 7, and 12 seek documents concerning the operation of Spartan’s product, a central issue in this

case. Ex. 2 at 6. Request No. 8 calls for the production of documents relating to the regulatory

compliance of Spartan’s product. Id. Finally, Request No. 15 seeks communications between

Spartan and a third party concerning the marketing materials for Spartan’s product.              Id.

Accordingly, all the requests seek relevant and discoverable documents.

        Spartan’s bare objections that these requests are burdensome or “too broad” do not suffice

to prevent discovery of these materials. “Where a party contends that the sought discovery causes

an undue burden, they must demonstrate specifically how each item of discovery is objectionable

by offering evidence revealing the nature of the burden.” Mut. Indus., Inc. v. Am. Int’l Indus., No.

11-5007, 2013 WL 3716516, at *2 (E.D. Pa. July 15, 2013) (Surrick, J.) (quoting Northern v. City

of Phila. No. 98-6517, 2000 WL 355526, at *2 (E.D. Pa. Apr. 4, 2000)) (internal quotations

omitted); see also Creely, 2005 WL 44526, at *1 (“[A] party’s statement ‘that the discovery sought

is overly broad, burdensome, oppressive, vague or irrelevant is not adequate to voice a successful



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objection.’”) (internal quotations omitted); Bolus v. Carnicella, No. 15-CV-01062, 2020 WL

930329, at *6 (M.D. Pa. Feb. 26, 2020) (same). Here, Spartan merely conjectures – apparently

without conducting an investigation to quantify precisely the amount of data at issue or the cost of

producing it – that these requests would encompass “hundreds of thousands of pages” or “tens of

thousands of pages” or “over a million pages” Ex. 3 at 2-3, 5. Spartan plainly failed to undertake

to gather evidence relating to the burden that these requests might impose, because the Spartan

Objections contain generic claims that it “would not be feasible” or it would be “difficult” or

“impossible” even to identify such documents. Id. Such objections do not carry Spartan’s burden

to resist discovery, and the Court should strike the objections and order Spartan to produce

documents responsive to Requests Nos. 5, 7, 8, 12, and 15.

                   C.   The Court Should Strike Spartan’s Objections And Order Spartan To
                        Produce Documents Responsive to Request No. 11

        Spartan’s objection to Request No. 11 does not justify its failure to produce documents

responsive to this request, and the Court should order Spartan to provide this discoverable

information. Request No. 11 seeks “[a]ll prior versions of Spartan Mosquito’s website.” Ex. 2 at

6.   These materials are discoverable both because they constitute marketing materials that

Mr. Purrington reviewed during his investigation of the Spartan product, and because

Mr. Purrington believes that Spartan’s website has changed during the relevant time period. See

Amend. Compl. Ex. J (containing a statement by Mr. Purrington concerning his review of the

Spartan website).

        Spartan objected that “it may not be possible to comply with this request as prior versions

of the website are not necessarily saved,” but agreed to produce any extant copies. Ex. 3 at 4. As

an initial matter, Spartan’s obligation to preserve documents relevant to its claims arose as early

as late 2019, when it contemplated filing suit against Mr. Purrington, and Spartan should therefore



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have in its possession, at a minimum, the versions of its website that were active in late 2019. See

Orion Drilling Co. v. EQT Prod. Co., No. 16-CV-1516, 2018 WL 4344980, at *3-4 (W.D. Pa.

Sept. 11, 2018). During the parties’ meet and confer, counsel for Spartan reversed its position and

claimed that Spartan does have copies of changes to its website, but that it would be too

burdensome for Spartan to produce them. As with the requests discussed in the prior section,

Spartan has not articulated any specifics for its burden objection, which does not suffice as a matter

of law, to justify a refusal to produce discoverable documents. Accordingly, the Court should

strike Spartan’s objection to Request No. 11 and order Spartan to produce the requested

documents.

                   D.   The Court Should Strike Spartan’s Objections and Order Spartan To
                        Produce Documents Responsive to Request No. 20

        Request No. 20 also seeks discoverable information to which Spartan has not articulated

any valid objection. This document request calls for the production of documents concerning the

creation and organization of the West Nile Education, Eradication, Prevention, and Recovery

Organization. Ex. 2 at 7. This organization has been involved in distributing Spartan products

and information concerning its founding is therefore relevant to Spartan’s marketing efforts, which

are at issue in this litigation. See Press Release, W. Nile Educ., Eradication, Prevention &

Recovery Organization, 600 Families Provided with Free Mosquito Products in Claiborne County

after First West Nile Case Announced (July 10, 2020), available at: https://weep-

recover.com/news. Spartan objected to the request because it seeks documents concerning an

organization that is “not a party to this case or mentioned in the pleadings.” Ex. 3 at 6. The Federal

Rules of Civil Procedure do not prohibit discovery concerning third parties who are not named in

the pleadings. See Fed. R. Civ. P. 26(b)(1). Accordingly, the Court should strike Spartan’s

objection and order it to produce any responsive documents.



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                   E.   The Court Should Strike Spartan’s Objections and Order Spartan To
                        Produce Documents Responsive To Request No. 25

        Although counsel for Mr. Purrington believed that any objection to Request No. 25 had

been resolved via the parties’ meet and confer, Spartan has not produced responsive documents.

This request targets correspondence between Spartan and reviewers of its products who received

a complimentary product in exchange for their review. Ex. 2 at 7. The material sought is

discoverable and relevant because it pertains to Spartan’s marketing efforts and claims of the

product’s effectiveness, which are topics of the statements that Spartan asserts are defamatory.

See Amend. Compl. ¶ 8. Spartan objected to this request as burdensome because it would “cover

a large amount of philanthropic efforts in which the Plaintiff has donated Product.” Ex. 3 at 7.

During the parties’ meet and confer, and in correspondence concerning Spartan’s objections,

counsel for Mr. Purrington clarified that he sought only documents related to circumstances where

Spartan provided product in exchange for a review, and Spartan agreed to produce documents

based upon that understanding. See Ex. 6. Nevertheless, Spartan has not produced those

documents.     Again, because these materials are discoverable and the parties have resolved

Spartan’s objection, the Court should enter an order compelling Spartan to produce these

documents.

                                        CONCLUSION

        For the reasons set forth above, defendant Colin Purrington respectfully requests that the

Court grant his motion and issue an order: (1) directing Spartan to respond to Interrogatories Nos.

5 and 10 within fourteen days of the date of the order; (2) compelling Spartan to produce all

documents responsive to Request Nos. 2, 3, 6, 9, 13, 14, 16, 21, 22, 23, 26, 31, and 32 within

fourteen days of the date of the order; (3) compelling Spartan to produce all documents responsive

to Request No. 30, including an unedited copy of the previously produced video, within fourteen




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days of the date of the Order; (4) striking Spartan’s objections and compelling it to produce

documents responsive to Requests Nos. 4, 5, 7, 8, 11, 12, 15, 20, and 25 within fourteen days of

the date of the order; and (6) granting such other and further relief as the Court deems proper and

just.

 November 25, 2020                      KLEHR HARRISON HARVEY BRANZBURG LLP



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                               CERTIFICATION OF SERVICE


        I hereby certify that on November 25, 2020, I served a true and correct copy of the

foregoing Memorandum of Law in Support of Defendant’s Motion to Compel via this Court’s

electronic filing system on the below-listed counsel for Plaintiff AC2T, Inc.:

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                                                  By: /s/ Paige M. Willan
                                                         Paige M. Willan




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